Case 2:18-cv-00201-SDM-MRM Document 104 Filed 03/17/20 Page 1 of 5 PageID 877



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION


    COUNTY OF MONMOUTH
    NEW JERSEY,
          Plaintiff,
    v.                                                 CASE NO. 2:18-cv-201-T-23MRM

    FLORIDA CANCER SPECIALISTS,
    P.L., et al.,
          Defendant.
    __________________________________/


                                            ORDER

          Monmouth County, New Jersey, on behalf of a proposed class, sues (Doc. 27)

    Florida Cancer Specialists (FCS) and Dr. William N. Harwin under the Sherman

    Act, 15 U.S.C. §§ 1–2. Monmouth County alleges that Harwin and the former CEO

    of 21st Century conspired not to compete in the Southwest Florida market for

    oncology services and agreed to refer patients exclusively to each other’s entities.

    The plaintiff moved unopposed (Doc. 80) for preliminary approval of the proposed

    class settlement agreement, and a June 5, 2019 order grants Monmouth County’s

    motion for preliminary approval but denies without prejudice the plan of allocation.

    The order (1) certifies a class for the purpose of settlement, (2) observes that “as

    amended, the parties’ settlement agreement appears fair, reasonable, and adequate,”

    (3) defers resolving the motion to approve a plan of allocation until after a fairness

    hearing, and (4) schedules a fairness hearing before Magistrate Judge Mac R. McCoy

    on October 29, 2019.
Case 2:18-cv-00201-SDM-MRM Document 104 Filed 03/17/20 Page 2 of 5 PageID 878



          In response to the June 5, 2019 order, the plaintiff moves unopposed (Doc. 92)

    for final approval of the class settlement and plan of allocation. Also, the plaintiff

    moves (Doc. 93) for an attorney’s fee, reimbursement of expenses, and a class

    representative’s incentive award. After holding the fairness hearing, the magistrate

    judge prepared a report and recommendation. (Doc. 102) The report observes that

    the settlement, by which FCS agrees to pay the settlement class no more than

    $7,187,500.00 in exchange for the discharge of all claims against FCS, is “fair,

    adequate, and reasonable.” (Doc. 102 at 14)

          The report states that no objection successfully challenges the fairness or

    adequacy of the class settlement or allocation plan. For example, an objection from

    William Elias alleged that the administration of chemotherapy during his wife’s

    treatment was improper. (Doc. 91 at 1–2) The report reasonably concludes that

    Elias’s objection “has no bearing on a fairness determination” because an allegation

    of medical malpractice bears no relevance to the fairness of a settlement agreement

    about an antitrust claim and because Elias’s objection to the maximum incentive

    award lacks any explanation or rationale. (Doc. 102 at 16) Also, Gerard Menard

    objected, but the magistrate judge reports (1) that the objection is untimely and no

    factual basis exists to find an error in the time stamp, (2) that Menard’s objection

    misunderstands the automatic allocation process, a process that an April 4, 2019

    order commends, and (3) that Menard raises no challenge to the fairness or adequacy

    of the remaining settlement terms. Further, even though the parties only partially



                                              -2-
Case 2:18-cv-00201-SDM-MRM Document 104 Filed 03/17/20 Page 3 of 5 PageID 879



    complied with the June 5, 2019 order’s instruction to include in the proposed notice

    further explanation about the requirements for an objection, the report suggests that

    “the likelihood that these oversights materially impacted the objection process is

    virtually non-existent.” (Doc. 102 at 15)

          Next, the magistrate judge recommends “grant[ing] the settlement agreement

    subject to ordering the parties to submit a modified plan of allocation requiring Court

    approval to distribute any remaining balance of the settlement fund to charities or

    other appropriate beneficiaries.” (Doc. 102 at 20) The current plan of allocation

    states that if a balance remains in the settlement fund after the initial disbursements

    and after the expiration of the void date, the class representative “may” request

    approval to distribute the balance to “charities or other appropriate beneficiaries.”

    (Doc. 92-1 at 2) The magistrate judge notes that this language is “permissive as

    opposed to mandatory” and, consequently, he recommends “correct[ing] the

    permissive language at issue to make it mandatory.” (Doc. 102 at 20)

          Finally, the plaintiff’s counsel moves (Doc. 93) for an attorney’s fee of

    $2,156,250.00 — 30% of the settlement if no “opt-outs” reduce the final settlement

    amount. (Doc. 93 at 1) The report advises granting the attorney’s fee motion. In

    support, the report observes (1) that the “risks borne by class counsel support the

    appropriateness of the fee requested,” (2) that the percentage fee is customary for

    similar contingency litigations, (3) that an antitrust conspiracy action “is among the

    most complex and difficult to litigate,” (4) that the attorneys “are experienced with a



                                                -3-
Case 2:18-cv-00201-SDM-MRM Document 104 Filed 03/17/20 Page 4 of 5 PageID 880



    proven record in the area of complex litigation,” (5) that the plaintiff’s attorneys

    achieved beneficial results, (6) that the attorneys expended substantial time and effort

    in prosecuting and settling this action, and (7) that “Robins Kaplan was the only law

    firm that came forward and prosecuted the matter as a class action.” (Doc. 102

    at 22–7)

           Additionally, counsel moves for a $68,939.381 reimbursement of expenses

    and a $2,500.00 incentive award to the class representative, Monmouth County.

    The report observes that the litigation expenses are reasonable. Because Robins

    Kaplan paid economic consultants to assist with data analysis and acquired other

    necessary expenses related to the litigation, the magistrate judge posits that the

    plaintiff’s attorneys “are entitled to reimbursement of the full amount of $68,939.38

    in litigation costs and expenses.” (Doc. 102 at 28) And because Monmouth County

    actively participated in the action, Monmouth County merits an incentive award of

    $2,500.00.2

           In sum, the magistrate judge recommends granting the plaintiff’s unopposed

    motion (Doc. 92) for final approval of the class settlement and the allocation plan

    (subject to a minor modification to the allocation plan), and the magistrate judge



           1
            The report’s isolated suggestion that the plaintiff’s counsel moves for a “$69,939.38.00”
    reimbursement is a scrivener’s error. (Doc. 102 at 20)
           2
             Regarding administration expenses, the report observes that, although “counsel does not
    address whether the expenses Epiq incurred were reasonable or necessary,” the magistrate judge
    considers the administration expenses to be fair and reasonable. However, because no party moves
    for an administration expense, the matter is aptly “tabled” until a motion appears.



                                                    -4-
Case 2:18-cv-00201-SDM-MRM Document 104 Filed 03/17/20 Page 5 of 5 PageID 881



    recommends granting the counsel’s motion (Doc. 93) for an attorney’s fee, for the

    reimbursement of expenses, and for the class representative’s incentive award.

    The report is reasonable and thorough, and no objection –– appearing either before

    the fairness hearing or within fourteen days after the report and recommendation

    appears –– presents any issue that adulterates the fairness of the class settlement or

    plan of allocation. More than fourteen days after the magistrate issued the report

    and recommendation, the parties submit a “joint notice affirming that they do not

    object to the Report and Recommendation,” and the parties amend the plan of

    allocation to comport with the mandatory language from the report and

    recommendation. (Doc. 103)

          Accordingly, the report and recommendation (Doc. 102) is ADOPTED, the

    plaintiff’s unopposed motion (Doc. 92) for final approval of class settlement and plan

    of allocation, as amended (Doc. 103-1), is GRANTED, and the plaintiff counsel’s

    motion (Doc. 93) for an attorney’s fee, for the reimbursement of expenses, and for an

    incentive award is GRANTED. The settlement fund is to be distributed in accord

    with the report and recommendation: $2,156,250.00 to class counsel as an attorney’s

    fee; $68,939.38 to class counsel for expenses; and $2,500.00 to Monmouth County,

    New Jersey as an incentive award.

          ORDERED in Tampa, Florida, on March 17, 2020.
